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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


  UNITED STATES OF AMERICA
                                                             Case No.: 9:22-mj-08332-BER
                     v.

  SEALED SEARCH WARRANT
                                                       /

                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Local Rule 4(b) of the Rules Governing the Admission, Practice, Peer

  Review, and Discipline of Attorneys of the United States District Court for the Southern District

  of Florida, the undersigned respectfully moves for the admission pro hac vice of Elizabeth

  Seidlin-Bernstein of the law firm of Ballard Spahr LLP, 1735 Market St., 51st Fl., Philadelphia,

  PA 19103, (215) 988-9774, for purposes of appearance as co-counsel on behalf of Proposed

  Intervenors WP Company LLC d/b/a The Washington Post, Cable News Network, Inc.,

  NBCUniversal Media, LLC d/b/a NBC News, and the E.W. Scripps Company in the above-

  styled case only, and pursuant to Rule 2B of the CM/ECF Administrative Procedures, to permit

  Elizabeth Seidlin-Bernstein to receive electronic filings in this case, and in support thereof states

  as follows:

         1.      Elizabeth Seidlin-Bernstein is not admitted to practice in the Southern District of

  Florida and is a member in good standing of the Eastern District of New York, Northern District

  of New York, Southern District of New York, District of New Jersey, Eastern District of

  Pennsylvania, Middle District of Pennsylvania, Western District of Pennsylvania, U.S. Court of

  Appeals for the Second Circuit, and U.S. Court of Appeals for the Third Circuit.
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         2.      Movant Charles D. Tobin, of the law firm of Ballard Spahr LLP, 1909 K St., NW,

  12th Floor, Washington, D.C., 20006, (202) 661-2200, is a member in good standing of The

  Florida Bar and the United States District Court for the Southern District of Florida and is

  authorized to file through the Court’s electronic filing system. Movant consents to be designated

  as a member of the Bar of this Court with whom the Court and opposing counsel may readily

  communicate regarding the conduct of the case, upon whom filings shall be served, who shall be

  required to electronically file and serve all documents and things that may be filed and served

  electronically, and who shall be responsible for filing and serving documents in compliance with

  the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF Administrative

  Procedures.

        3.      In accordance with the local rules of this Court, and contemporaneously with this

 filing, Elizabeth Seidlin-Bernstein has made payment of this Court’s $200 admission fee.

        4.      Elizabeth Seidlin-Bernstein, by and through designated counsel and pursuant to

 Section 2B CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of

 Electronic Filings at email address: SeidlinE@ballardspahr.com.

        WHEREFORE, Charles D. Tobin moves this Court to enter an Order allowing Elizabeth

 Seidlin-Bernstein to appear before this Court on behalf of Proposed Intervenors WP Company

 LLC d/b/a The Washington Post, Cable News Network, Inc., NBCUniversal Media, LLC d/b/a

 NBC News, and the E.W. Scripps Company for all purposes relating to the proceedings in the

 above-styled matter and directing the Clerk to provide notice of electronic filings to her.




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   Dated: August 12, 2022     Respectfully submitted,

                              BALLARD SPAHR LLP

                              By:    /s/Charles D. Tobin
                                    Charles D. Tobin
                                    Florida Bar No. 816345
                                    1909 K Street NW, 12th Floor
                                    Washington, DC 20006
                                    Telephone: 202.661.2218
                                    Facsimile: 202.661.2299
                                    tobinc@ballarspahr.com

                               Attorneys for Proposed Intervenors WP Company LLC,
                               Cable News Network, Inc., NBCUniversal Media, LLC, and
                               the E.W. Scripps Company




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
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 UNITED STATES OF AMERICA
                                                            Case No.: 9:22-mj-08332-BER
                    v.

 SEALED SEARCH WARRANT
                                                      /

                 CERTIFICATION OF ELIZABETH SEIDLIN-BERNSTEIN

        Elizabeth Seidlin-Bernstein, Esquire, pursuant to Rule 4(b) of the Rules Governing the

 Admission, Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have

 studied the Local Rules of the United States District Court for the Southern District of Florida; (2) I

 am a member in good standing of the Eastern District of New York, Northern District of New York,

 Southern District of New York, District of New Jersey, Eastern District of Pennsylvania, Middle

 District of Pennsylvania, Western District of Pennsylvania, U.S. Court of Appeals for the Second

 Circuit, and U.S. Court of Appeals for the Third Circuit; and (3) I have not filed three or more

 motions for pro hac vice admission in this District within the last 365 days.



                                                           Elizabeth Seidlin-Bernstein
